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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE
 ______________________________________________________________________________
 UNITED STATES OF AMERICA,
                        Plaintiff,
 vs.                                                           No. : 17-cr-10082-STA
 NORISSA WILLIAMS,
                        Defendant.
 ________________________________________________________________________
            ORDER STRIKING THE MATTER FROM THE TRIAL DOCKET
 _________________________________________________________________________
 This order comes pursuant to a strike from the trial docket filed by Defendant Norissa Williams.

 This matter has been set for trial on December 17, 2018. Defendant’s motion advises that all

 parties anticipate a change of plea, and that a hearing for such has been set on December 10,

 2018. Therefore a trial date will not be necessary and the matter will be stricken from the trial

 docket. It is so ordered November 30, 2018.



 s/S. Thomas Anderson
 Chief U.S. District Court Judge
